Case 1:05-cv-Olll4-.]DT-STA Document 8 Filed 08/08/05 Page 1 of 2 Page|D 15

 

 

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WESTERN DISTRICT oF TENNESSEE `¢9 `\
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JUDGMENT IN A CIVIL CASE ` ’H;%/

TI]\/[OTHY L. MORTON,
v.

CORRECTIONS CORPORATION CAS E N U|VIB ER: 1205-1 114-T//-\n
OF AMERICA, ET AL., ‘

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T lS ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on 8/5/2005, this case is hereby D|S|VI|SSED without prejudice
, pursuant to 42 U.S.C. § 1997 e(a). lt is also CERT|FIED that any Appeal by plaintiff
is not taken in good faith; and the plaintiff is instructed that if he Wishes to take
advantage of the installment procedures for paying the appellate filing fee, he must
comply with the procedures set out in l\/chore and § 1915(a)-(b).

APPROVED:

 

TED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
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DATE l ‘ DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(3) FRCP on % lg \O: 2 . %

 

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This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-011]4 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

Timothy L. Morton
324048

Rt. 4, BoX 600
Pikeville, TN 37367

Honorable J ames Todd
US DISTRICT COURT

